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                IN THE DISTRICT COURT OF THE UNITED STATES
                    FOR THE MIDDLE DISTRICT OF ALABAMA
                             NORTHERN DIVISION

UNITED STATES OF AMERICA                      )
                                              )
       v.                                     )   CR. NO. 2:06-cr-71-MEF
                                              )
BERNETTA WILLIS                               )

                                        ORDER

       Upon consideration of the government's motion for release of prisoner filed on March

20, 2007, and for good cause, it is ORDERED that the motion be and hereby is GRANTED.

       It is hereby ORDERED that the United States Marshals Service release custody of

Bernetta Willis, to Ed Kleppinger, DHS/OIG, and/or Jason Mann, DHS/OIG, and/or Jim

Tynan, United States Postal Inspection Service, on March 21, 2007, through June 21, 2007,

so that said agents can take such prisoner into custody without the necessity of the presence

of a Deputy United States Marshal.

       It is further ORDERED that Ed Kleppinger, DHS/OIG, and/or Jason Mann,

DHS/OIG, and/or Jim Tynan, United States Postal Inspection Service, return said prisoner

into the custody of the United States Marshals Service when they have finished with her.

       Done this 20th day of March, 2007.



                                        /s/Charles S. Coody
                                   CHARLES S. COODY
                                   CHIEF UNITED STATES MAGISTRATE JUDGE
